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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA

ALCOA INC.,                            )
                                       )
             Plaintiff,                ) Case No. 1:15-cv-01466-ELR
                                       )
v.
                                       )
UNIVERSAL ALLOY                        )
CORPORATION,                           )
                                       )
             Defendant.                )
                                       )

                          FIRST AMENDED COMPLAINT
      Plaintiff, Alcoa Inc. (“Alcoa”), through its undersigned counsel, files this

First Amended Complaint against defendant Universal Alloy Corporation

(“UAC”), and in support thereof states as follows:

                           NATURE OF THE ACTION

      1.     This action stems from UAC’s deliberate misappropriation of Alcoa’s

trade secret stretch form extrusion process and all of its component parts (the

“Stretch Form Process”) in order to siphon away hundreds of millions of dollars of

Alcoa’s sales of aluminum aerospace extrusion parts (the “Stretch Form Extrusion

Parts”) to The Boeing Company (“Boeing”).

      2.     Alcoa spent nearly a quarter of a century painstakingly developing its

unique Stretch Form Process at its Lafayette, Indiana facility, investing millions of
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dollars and thousands of manpower hours to create and optimize the proprietary

processes that are used to manufacture the Stretch Form Extrusion Parts for

Boeing, and implementing considerable measures to protect against the disclosure

and/or misuse of those processes.

      3.    UAC wanted a piece of Boeing’s Stretch Form Extrusion Parts

business but knew that Alcoa was the only manufacturer in the world that had

developed the processes necessary to make those parts to Boeing’s specifications.

      4.    Not willing or able to expend the enormous amounts of time, money

and effort needed to develop its own processes, UAC instead hired several former

and current Alcoa employees and consultants, including, among others, Alan

Chase, Michael Colt, Michael Fultz, Paul Scaglione, and Henry Sigler, who had

been entrusted with Alcoa’s trade secret information regarding the Stretch Form

Process.

      5.    At UAC’s urging, these former Alcoa employees and consultants

betrayed that trust and improperly disclosed Alcoa’s trade secrets to UAC, who

used them for the express purpose of replicating the Stretch Form Process at

UAC’s manufacturing facility.

      6.    Once it had pilfered Alcoa’s Stretch Form Process, UAC marketed

itself to Boeing as a new, low cost supplier of Stretch Form Extrusion Parts—

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despite the fact that it did not yet even own the equipment necessary to

manufacture those parts.

      7.     Notwithstanding the fact that it had never manufactured a single large

press Stretch Form Extrusion Part, UAC—with the security of Alcoa’s former

personnel and trade secret processes in hand—somehow managed to convince

Boeing that it could do so. As a result, in August 2014, Boeing informed Alcoa

that it was reducing Alcoa’s share of the Stretch Form Extrusion Parts business by

$200 million over the life of the upcoming 2016 to 2025 contract term. Alcoa

subsequently learned that Boeing had contracted with UAC for the remaining share

of the business.

      8.     Because of UAC’s improper and unlawful misappropriation of

Alcoa’s trade secret Stretch Form Process, Alcoa has sustained substantial injuries

for which it seeks appropriate judicial relief including, but not limited to, the

recovery of actual damages (including compensatory and consequential damages),

pre- and post-judgment interest, costs of court, and attorney’s fees. Alcoa also is

entitled to a permanent injunction enjoining UAC from misappropriating,

retaining, using or disclosing in any manner Alcoa’s trade secret Stretch Form

Process.




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         9.      Due to the deliberate, willful and malicious nature of UAC’s

misappropriation, Alcoa also seeks to recover punitive damages from UAC.

                                        PARTIES

         10.     Plaintiff Alcoa Inc. is a Pennsylvania corporation with its principal

place of business located at 390 Park Avenue, New York, New York 10022.

         11.     Defendant Universal Alloy Corporation is a Georgia corporation with

its principal place of business located at 180 Lamar Haley Parkway, Canton,

Georgia 30114.         According to its website, UAC is a supplier of aerospace

components.

                  STATEMENT OF JURISDICTION AND VENUE

         12.     This Court has subject matter jurisdiction over this matter pursuant to

28 U.S.C. § 1332 because there is complete diversity of citizenship between the

parties and the amount in controversy exceeds $75,000, exclusive of interest and

costs.

         13.     This Court has personal jurisdiction over UAC because it is a citizen

of this State.

         14.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to Alcoa’s request

for relief occurred in this District.

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                             FACTUAL BACKGROUND

A.    Development of Alcoa’s Trade Secret Stretch Form Process

      15.       At its Lafayette facility located at 3131 East Main Street, Lafayette,

Indiana 47905, Alcoa manufactures, among other things, Stretch Form Extrusion

Parts for use in the aerospace industry.

      16.       The Stretch Form Extrusion Parts are pieces of contoured aluminum

ranging from 65 to 110 feet in length that are used primarily to construct the wings

of airplanes.

      17.       Alcoa’s sole North American customer for the Stretch Form Extrusion

Parts is Boeing, to which Alcoa has sold these parts for over twenty-five years.

      18.       During that time period, Alcoa invested millions of dollars and

thousands of manpower hours developing and optimizing its proprietary Stretch

Form Process.

      19.       The Stretch Form Process, used to produce Stretch Form Extrusion

Parts, is a multi-staged manufacturing process during which a proprietary

aluminum alloy composition in the form of a billet is processed through three

different pieces of equipment: a large extrusion press, a horizontal heat treat

furnace and quench, and a large stretch former.           The Stretch Form Process

carefully sequences a number of steps and controls a variety of precisely and

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individually calibrated variables to manufacture the Stretch Form Extrusion Parts

to meet tight tolerances within Boeing’s exacting specifications.

      20.    Alcoa expended substantial time, effort and expense in developing the

proprietary alloy composition used in the Stretch Form Process, the specifics of

which are stored on a secure database (the “Alloy Database”). Alcoa restricts

access to the Alloy Database to those who “need to know” and requires authorized

users to sign confidentiality agreements before granting them access.

      21.    The aluminum billet made with this proprietary alloy composition is

created using a proprietary alloying process that is specific to the particular alloy

composition Alcoa uses. The aluminum billet is then processed through each of

the Stretch Form Process stages pursuant to very precise parameters developed and

optimized by Alcoa covering an extensive array of variables that can be and are

carefully manipulated and controlled to produce the desired end product.

      22.    The first stage of the Stretch Form Process utilizes the large extrusion

press, which heats the billet and forces it through an extrusion die that is custom

designed by Alcoa for each specific part. During this extrusion process, Alcoa

controls for a number of independent variables to optimize the strength of the

material and the predictability of its stretch forming response.




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      23.    The extruded material is next sent through the horizontal heat treat

furnace and quench equipment, which is calibrated with proprietary and precise

heating and quenching conditions and sequences to control the process outcome.

The purpose of heat treating and quenching the extruded material is to increase the

performance characteristics of the part, including, but, not limited to, its strength

and hardness.

      24.    Once heat treated and quenched, the extruded material is sent to a

large stretch former, where, after being placed in jaws with a proprietary design,

the extrusion is stretched using a unique stretch form recipe that Alcoa has

developed for each of the Stretch Form Parts. Stretch forming is used to create the

necessary curvature of the part and to help relieve residual stress created by the

heat treat and quench process.

      25.    During the early years of Alcoa’s relationship with Boeing, the

Stretch Form Extrusion Parts would come through the manufacturing process

meeting specification but when Boeing would subsequently machine those parts,

they would exhibit residual stress. Thus, during those early years, Boeing had to

spend considerable time and resources making localized corrections to achieve its

desired final product.




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      26.    In an effort to deliver a more valuable product to Boeing that would

require fewer post-machining adjustments, Alcoa began working on an iterative

improvement project in the late-1990s to enhance its Stretch Form Process.

      27.    A mixture of art and science, this painstaking, trial-and-error process,

which took place over the course of many years, consisted of making thousands of

adjustments to each piece of equipment to control for and calibrate the variables

specific to each part.    Alcoa recorded all of the proprietary data that was

accumulated, which reflected the inputs made and the outputs achieved, on

“Process Target Pages” applicable to each part number and “Practices and Program

Materials” applicable to each piece of equipment used in the Stretch Form Process.

      28.    In an effort to ensure the secrecy of its trade secret information, while

also maintaining the Lafayette facility’s ability to function and manufacture Stretch

Form Extrusion Parts, Alcoa stored the Process Target Pages and Practices and

Program Materials on secure drives and servers that only Alcoa employees and

certain contractors could access.

      29.    In addition to these efforts, Alcoa employees and consultants—

including Alan Chase, Michael Colt, Michael Fultz, Paul Scaglione, and Henry

Sigler—were bound by numerous agreements and policies precluding the

disclosure and restricting the use of the company’s proprietary information,

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including employment and consulting agreements, a code of ethics, various

business conduct policies, an acceptable computer use policy and non-disclosure

agreements. These agreements and policies specifically forbade use of Alcoa’s

proprietary information for personal benefit and disclosure to third parties.

      30.    Through this expensive and time-consuming iterative improvement

project, Alcoa achieved significant breakthroughs for its Stretch Form Process,

and, by 2008, essentially had optimized that process to the point that Boeing no

longer needed to make any significant corrections to the Stretch Form Extrusion

Parts produced by Alcoa.

B.    UAC Misappropriates Alcoa’s Trade Secret Stretch Form Process

      31.    In order to obtain a share of Boeing’s Stretch Form Extrusion Parts

business, UAC devised a strategy to misappropriate Alcoa’s trade secret Stretch

Form Process.

      32.    In furtherance of that strategy, UAC began assembling each of the

component parts of Alcoa’s Stretch Form Process and hired key former and current

Alcoa personnel who were heavily involved in the iterative improvement project

and who otherwise had access to Alcoa’s trade secret information relating to each

stage of the Stretch Form Process, including, but not limited to Alan Chase,

Michael Colt, Michael Fultz, Paul Scaglione, and Henry Sigler.

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      33.         Specifically, the former and current Alcoa employees and contractors

hired by UAC had access to information about the proprietary aluminum alloy

composition, the Process Target Pages, and the Practices and Program Materials

developed by Alcoa and needed by UAC to replicate Alcoa’s trade secret Stretch

Form Process.

      34.         These Alcoa employees and contractors also had extensive knowledge

of, among other things, each of the machines used in the Stretch Form Process, the

iterative improvement project, residual stress containment or minimization, and

how to modify the variables and controls for the various component parts of the

Stretch Form Process to avoid rework on Boeing’s end. This knowledge was

developed by and for the sole benefit of Alcoa at its Lafayette facility.

      35.         Upon information and belief, at the direction of UAC, the former

Alcoa employees and contractors improperly disclosed to UAC Alcoa’s proprietary

knowledge and information relating to the Stretch Form Process, including, but not

limited     to,     information   regarding     Alcoa’s   proprietary   aluminum   alloy

compositions, the information captured in the Process Target Pages and the

Practices Materials, and the cumulative body of knowledge and information

amassed as a consequence of the multi-year iterative improvement project

described above.         At all times, UAC knew or should have known that the

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proprietary knowledge and information obtained from these employees and

contractors belonged to Alcoa and was improperly disclosed.

      36.    Once UAC obtained information about Alcoa’s proprietary and trade

secret Stretch Form Process, it began to directly compete with Alcoa for Boeing’s

business.

      37.    In the late summer of 2014, Alcoa learned that UAC had reached an

agreement with Boeing to provide it with a substantial portion of its Stretch Form

Extrusion Parts requirements for the next contract cycle, which begins on

January 1, 2016. This lost business will cost Alcoa more than $200 million in sales

over the life of the ten-year contract.

      38.    Upon information and belief, UAC has never manufactured a single

large press stretch form extrusion product, much less engaged in the years of

painstaking testing and modification necessary to develop the processes that will

result in products that meet Boeing’s specification and achieve the performance

levels that Boeing has mandated with respect to the Stretch Form Extrusion Parts.

      39.    Thus, if UAC is able to manufacture Stretch Form Extrusion Parts

acceptable to Boeing, it is only because UAC improperly gained access to Alcoa’s

proprietary Stretch Form Process as accumulated through Alcoa’s iterative




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improvement project and captured in the Alloy Database, the Process Target Pages

and the Practices and Program Materials.

                                 LEGAL CLAIMS

                             COUNT I
                MISAPPROPRIATION OF TRADE SECRETS

      40.    The allegations set forth in each and every preceding paragraph are

incorporated herein by reference.

      41.    This claim arises under the Georgia Trade Secrets Act (the “GTSA”),

O.C.G.A. § 10-1-760, et seq., which prohibits the misappropriation of trade secrets.

      42.    The components of Alcoa’s Stretch Form Process are protected trade

secrets under the GTSA.

      43.    Information regarding Alcoa’s Stretch Form Process is not generally

known or readily ascertainable to others and has substantial value to a competitor,

such as UAC.

      44.    Alcoa created and developed its Stretch Form Process at great

expense, time and effort, and Alcoa enjoyed a significant competitive advantage in

the marketplace for extrusion parts as a direct result of its Stretch Form Process.

      45.    Alcoa took reasonable steps to ensure the confidentiality of its Stretch

Form Process, including, but not limited to, labeling as “Proprietary” the files that

reflect the specific alloy composition used in the process, storing those files on a
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secure database and requiring employees to sign confidentiality agreements prior

to accessing those files.     Other documents and electronic files that reflected

proprietary information relating to the Stretch Form Process were stored on servers

accessible only to Alcoa employees and certain consultants. In addition, as terms

of their employment and retention, Alcoa employees and consultants were subject

to numerous employment agreements and business policies, all of which were

designed to protect against the disclosure of Alcoa’s trade secrets and other

confidential information.

      46.    Upon information and belief, UAC misappropriated Alcoa’s trade

secret information, and has used this information to replicate Alcoa’s Stretch Form

Process without Alcoa’s consent, permission, or authorization, and for UAC’s sole

economic benefit.

      47.    At all relevant times, UAC had actual knowledge that it had no

consent, permission or authorization from Alcoa for its conduct.

      48.    UAC’s misappropriation of Alcoa’s trade secret Stretch Form Process

and all of its components has directly and proximately resulted in Alcoa suffering

loss of its capital investment and loss of potential and future profit.

      49.    UAC’s misappropriation of Alcoa’s trade secret Stretch Form Process

has directly and proximately resulted in UAC gaining an unfair business advantage

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in the market for Stretch Form Extrusion Parts without having to expend the effort,

time, resources or capital investment required to develop and optimize the Stretch

Form Process.

      50.    As a result of UAC’s wrongful actions, Alcoa has been damaged and

will continue to be damaged in an amount to be proven at trial.

      51.    As a result of UAC’s wrongful actions, UAC has unjustly received

profits in an amount to be proven at trial.

      52.    UAC’s conduct was willful and malicious and, on that basis, requires

the imposition of exemplary damages in an amount to be determined at trial.

      53.    As a result of UAC’s actions, Alcoa is entitled to damages pursuant to

the GTSA, including its costs, attorneys’ fees and exemplary damages, in an

amount to be proven at trial.

      54.    The foregoing acts of UAC have caused and will continue to cause

Alcoa irreparable harm. Unless permanently enjoined, UAC’s acts alleged herein

will continue to cause Alcoa irreparable harm, loss and injury.




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                                  PRAYER FOR RELIEF

       WHEREFORE, for all of the foregoing reasons, Alcoa respectfully requests

that the Court grant the following relief:

       1.      Judgment be entered in favor of Alcoa and against UAC for actual

damages in an amount to be determined at trial;

       2.      An Order that UAC be enjoined from:

               a.        Utilizing Alcoa’s trade secrets; and

               b.        Manufacturing, marketing or selling products or offering
                         services based on or derived from Alcoa’s trade secret
                         information;

       3.      An award of Alcoa’s actual and special damages as pleaded;

       4.      An award of exemplary damages against UAC;

       5.      An award of Alcoa’s reasonable attorneys’ fees and court costs in

prosecuting this action;

       6.      An award to Alcoa of pre-judgment and post-judgment interest on all

sums awarded at the highest rate permitted by law; and

       7.      An award to Alcoa of such further relief, legal and equitable, to which

it is justly entitled.




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                             JURY TRIAL DEMANDED

       Pursuant to Federal Rule of Civil Procedure 38(b), Alcoa hereby demands a
trial by jury of all issues so triable.
Dated: June 5, 2015                       Respectfully Submitted:
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                          CERTIFICATE OF SERVICE

        I hereby certify that on June 5, 2015, I served a copy of the foregoing FIRST

AMENDED COMPLAINT on the below counsel of record through the Court’s

CM/ECF system:



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